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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

CRYSTALLEX INTERNATIONAL
CORPORATION,

Plaintiff,
v. - Misc. No. 17-151-LPS
BOLIVARIAN REPUBLIC OF VENEZUELA,

Defendant.

 

MEMORANDUM ORDER

On January 14, 2021, the Court issued an opinion and corresponding order on several
motions brought by Plaintiff Crystallex International Corp. (“Crystallex”), Defendant Bolivarian
Republic of Venezuela (“Venezuela”), and Intervenors Petréleos de Venezuela, S.A.
(““PDVSA”), PDV Holding, Inc. (“PDVH), and CITGO Petroleum Corp. (“CITGO”)
(collectively with Venezuela, PDVSA, and PDVH, the “Venezuela Parties”). (D.I. 234, 235)
One of those motions, filed by Crystallex, sought an order approving the process for the sale of
shares of PDVH held by its parent company, PDVSA. (D.[. 181) The Court granted that motion
in part and denied it in part. (D.I. 235 (3) In particular, the Court “set out some of the contours
of the sales procedures that it will follow” in conducting a sale of PDVSA’s shares of PDVH.
(D.I. 234 at 34)

At the same time, the Court recognized that the parties! would need to “submit more

specific proposals” and that more detailed procedures would need to be established before a sale

 

' On the issue of sales procedures, the Court also received input from nonparties Phillips
Petroleum Company Venezuela Limited and ConocoPhillips Petrozuata B.V., who are presenting
similar issues in a different case on the Court’s docket. See generally Phillips Petroleum Co.
Venezuela Ltd. v. Petréleos de Venezuela, S_A., Misc. No. 19-342-LPS (D. Del.).

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could occur. (/d.) The parties agreed that the Court could appoint a special master to oversee the
design and implementation of detailed sales procedures, and the Court decided that it would
appoint someone to fill that role. Ud. at 34-35)

Subsequently, the parties agreed on a process to identify possible candidates for the
special master position. (D.I. 237 at 1; D.I. 238) Eventually, the parties presented the Court
with three candidates, (D.I. 244) The Court agrees with the parties that all three candidates are
highly experienced, would faithfully carry out the duties of the special master, and wouid assist
the Court.

Notably, while the parties expressed competing preferences among the three individuals
they proposed, no party had any objection to the Court appointing any of them. (See D.I. 256 at
62-65) This is a particularly striking fact, given how litigious these parties have been over the
past decade. (See, e.g., id. at 84 ({T]he Venezuela parties have vigorously litigated the validity
of the [writ] and continue to do so.”); id. at 94 (“Crystallex was injured... 13 years ago, and has
spent the ensuing years in multiple courts, and no doubt spent millions of dollars trying to
recover what was wrongfully taken from it.”)) Thus, while there are undoubtedly other
professionals who would also be qualified to serve as the special master in this case, it is most
appropriate, in the Court’s view, to select one of the candidates presented by the parties
themselves, to whom there are no objections.

The parties encouraged the Court to conduct interviews with each of the three candidates.
(See id. at 72-73) Having done so, the Court has decided to appoint Robert B. Pincus.

Accordingly, IT IS HEREBY ORDERED that:

1. The Court appoints Robert B. Pincus as special master in this case, to assist with

the sale of PDVSA’s shares of PDVH to satisfy Crystallex’s judgment.

 

 

 
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2. The parties are directed to work with Mr. Pincus so that he may submit, no later
than April 30, 2021 (unless he asks for an extension), a proposed order setting out:
(a) arrangements for how Mr. Pincus will be paid for his time and reimbursed for reasonable
expenses incurred in fulfilling his responsibilities, including the retention of necessary
professional and other services; (b) any other details required to effectuate the appointment, see,
e.g, Cirba Inc. v. VMware, Inc., C.A. No. 19-742-LPS D.1. 958 (Order Appointing Special
Master); and (c) a deadline for Mr. Pincus, after meeting and conferring with the parties and
obtaining whatever additional assistance he reasonably needs, to submit a proposed Sales
Procedures Order.

3. At the appropriate time, the parties will have an opportunity to object to the

proposed Sales Procedures Order.

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April 13, 2021 HONORABLE LEONARD P. STARK™
Wilmington, Delaware UNITED STATES DISTRICT JUDGE

 

 
